      Case 2:25-cv-00686      Document 1       Filed 07/03/25      Page 1 of 22 PageID #: 1




                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


  Headwater Research LLC,                               Case No. 2:25-cv-00686

                        Plaintiff,

                                                        Complaint for Patent Infringement
 v.

 T-Mobile USA, Inc. and Sprint LLC,                        JURY TRIAL DEMANDED

                        Defendants.



                       COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Headwater Research LLC (“Headwater”) files this complaint against Defendants

T-Mobile USA, Inc. and Sprint LLC, formerly known as Sprint Corporation (collectively,

“Defendants” or “T-Mobile”), alleging infringement of U.S. Patent Nos. 8,797,908, 9,706,061,

10,028,144, 10,080,250, and 10,779,177.

                                         BACKGROUND

         1.    This complaint arises from Defendants’ infringement of the following United States

patents owned by Headwater, each of which relate to wireless communications technology:

U.S. Patent Nos. 8,797,908 (“’908 patent”), 9,706,061 (“’061 patent”), 10,028,144 (“’144

patent”), 10,080,250 (“’250 patent”), and 10,779,177 (“’177 patent”) (collectively, “Asserted

Patents”).

         2.    Dr. Gregory Raleigh—the primary inventor of the Asserted Patents—is a world-

renowned scientist, inventor, and entrepreneur, with over 25 years of executive experience in several

technology sectors including networking, cloud software, consumer services, wireless and military


                                                 1
   Case 2:25-cv-00686         Document 1        Filed 07/03/25      Page 2 of 22 PageID #: 2




systems. Dr. Raleigh holds Ph.D. and Masters degrees in Electrical Engineering from Stanford

University, and a BS in Electrical Engineering from Cal Poly San Luis Obispo. He is the inventor of

over 350 issued U.S. and international patents in several fields including radio systems and

components, radar, mobile operating systems, cloud services, IoT, networking, consumer

electronics, radiation beam cancer therapy and medical imaging.

       3.      Dr. Raleigh has a long and distinguished record of significant contributions and

advancements in wireless communications technology. His inventions, companies, and products

have profoundly and positively impacted virtually every aspect of the mobile device and

communications market. In 2005, Dr. Raleigh was named one of the “50 most powerful people in

networking” because of his discoveries in wireless communications technology, and his work in

multiplying the capacity of a radio link using multiple transmission and receiving antennas to exploit

multipath propagation was described as the “most important wireless technology in the works.” See

https://www.networkworld.com/article/2316916/the-50-most-powerful-people-in-

networking.html?page=2.

       4.      In 1996, while at Stanford University, Dr. Raleigh presented the first mathematical

proof demonstrating that multiple antennas may be used with special signal processing techniques

to transmit multiple data streams at the same time and on the same frequency while in the presence

of naturally occurring multipath propagation. Dr. Raleigh’s work at Stanford has been widely

adopted in modern multiple-input and multiple-output (“MIMO”) radio communication and

implemented in major wireless communication standards including 4G and 5G. See, e.g.,

https://en.wikipedia.org/wiki/Gregory_Raleigh.

       5.      Dr. Raleigh’s groundbreaking work solved problems that had existed in wireless

communication since the late 1800s and overturned a century of research and practice in the fields




                                                  2
   Case 2:25-cv-00686         Document 1       Filed 07/03/25      Page 3 of 22 PageID #: 3




of radio science and wireless communication theory. His work revealed that a new class of MIMO

signal processing architectures would allow wireless devices to transmit multiple data streams at the

same time on the same frequency thereby multiplying the capacity of wireless networks.

       6.      Based on his discoveries, Dr. Raleigh co-founded Clarity Wireless to develop smart

antenna products incorporating the advances of his MIMO signal processing architecture, and

obtained patents now used in 4G and 5G cellular and Wi-Fi standards. Field trials of the smart

antennas developed by Clarity Wireless demonstrated performance significantly above anything else

contemplated at the time and continue to set standards for multipath broadband wireless access links.

Shortly after those field trials, Cisco acquired Clarity in 1998 and hired Dr. Raleigh to continue to

commercialize these technologies.

       7.      After leaving Cisco, Dr. Raleigh founded Airgo Networks to develop the world’s first

MIMO wireless chipsets, networking software, reference design systems and commercial OEM

products. Airgo Networks’s chipset products significantly improved the speed and reliability of

Wi-Fi, leading to the adoption of its technology as the core of Wi-Fi radio standards since 2006, and

adoption of the chipsets into products sold across the globe. In 2006, Qualcomm acquired Airgo

Networks and hired Dr. Raleigh to continue to commercialize these technologies. The Airgo team at

Qualcomm spearheaded the creation of Wi-Fi standards and developed the first Qualcomm Wi-Fi

chips for cell phones.

       8.      Dr. Raleigh’s innovations at Clarity Wireless, Cisco, Airgo Networks, and

Qualcomm, resulted in widespread adoption of his technologies in a multitude of cellular and Wi-Fi

standards, such as LTE, WiMAX, 802.11n, 802.11ac (Wi-Fi 5), and 802.11ax (Wi-Fi 6).

       9.      After successfully founding and selling Clarity Wireless and Airgo Networks to

Cisco and Qualcomm, respectively, Dr. Raleigh shifted his focus from solving radio-centric




                                                 3
   Case 2:25-cv-00686          Document 1        Filed 07/03/25      Page 4 of 22 PageID #: 4




problems to solving problems in how wireless services are provided to consumers. Dr. Raleigh

foresaw significant data demand problems presented by the advent and adoption of smartphones.

He sought to solve these data demand problems by improving end-user wireless devices and the

services that support them.

        10.    In 2008, Dr. Raleigh formed Headwater to develop mobile operating systems and

cloud technology, which today, underpin the mobile phone and app industries. The patents in this

action describe and claim some of the extraordinary inventions developed by Dr. Raleigh and others

on the Headwater team.

        11.    Smartphones and other mobile devices have become ubiquitous and inseparable

components of our daily lives, allowing us to make and receive phone calls, get notifications,

download music, upload photos, stream entertainment, transact business, exchange ideas, and keep

us connected to our family and friends whether they are down the hall or around the globe. Users can

get email, install apps, and browse the internet from these tiny devices by making use of data

connectivity services. These devices accomplish these amazing feats by exchanging staggering

amounts of data over the internet using wireless and cellular networks, relying on ubiquitous data

connectivity to keep users up-to-date and connected.

        12.    Since 2011, mobile device data demand has exploded—increasing by almost

400%—with each user consuming approximately 11.5 gigabytes of data per month. In the aggregate,

this equates to approximately 90 exabytes of data consumption per month. See, e.g.,

https://www.ericsson.com/en/reports-and-papers/mobility-report/mobility-

visualizer?f=9&ft=2&r=1&t=11,12,13,14,15,16,17&s=4&u=3&y=2011,2027&c=3. For context: a

single exabyte of data is equivalent to one billion gigabytes of data. Said another way, if one gigabyte




                                                   4
   Case 2:25-cv-00686        Document 1       Filed 07/03/25     Page 5 of 22 PageID #: 5




is the size of the Earth, then an exabyte is the size of the sun. See, e.g.,

https://www.backblaze.com/blog/what-is-an-exabyte/.

       13.     And mobile device data demand shows no sign of slowing down. Between now and

2027, mobile data demand is projected to increase more than three-fold, from 90 exabytes per

month to a staggering 282 exabytes per month, with each user consuming an average of 41

gigabytes of data each and every month. See, e.g., https://www.ericsson.com/en/reports-and-

papers/mobility-report/mobility-calculator?up=2&bp=1&v=0&c=2;

https://www.ericsson.com/en/reports-and-papers/mobility-report/mobility-

visualizer?f=9&ft=2&r=1&t=11,12,13,14,15,16,17&s=4&u=3&y=2011,2027&c=3.




                                                5
   Case 2:25-cv-00686        Document 1       Filed 07/03/25     Page 6 of 22 PageID #: 6




       14.     Also in 2008, Dr. Raleigh founded ItsOn Inc., which licensed Headwater’s

intellectual property and implemented Headwater’s technology into software and services that

expanded cellular service plan offerings and improved device and data management capabilities.

The tools and technologies delivered by ItsOn allowed carriers to implement Headwater’s

technologies in end-user devices—such as mobile phones and tablets—opening up new business

models while also providing greater flexibility to carriers and device manufacturers and allowing

them to reduce costs while simultaneously improving their devices and services.

                PLAINTIFF HEADWATER AND THE PATENTS-IN-SUIT

       15.     Plaintiff Headwater was formed in 2011 and has been in continued existence and

operation since that time. Headwater is a Texas limited liability company organized under the laws

of Texas, with its headquarters at 110 North College Avenue, Suite 1116, Tyler, Texas 75702.




                                                6
   Case 2:25-cv-00686          Document 1       Filed 07/03/25     Page 7 of 22 PageID #: 7




       16.     Headwater is the owner of U.S. Patent No. 8,797,908, titled “Automated device

provisioning and activation,” which issued August 5, 2014. A copy of the ’908 patent is attached

to this complaint as Exhibit 1.

       17.     Headwater is the owner of U.S. Patent No. 9,706,061, titled “Service design center

for device assisted services,” which issued July 11, 2017. A copy of the ’061 patent is attached to

this complaint as Exhibit 2.

       18.     Headwater is the owner of U.S. Patent No. 10,028,144, titled “Security techniques

for device assisted services,” which issued July 17, 2018. A copy of the ’144 patent is attached to

this complaint as Exhibit 3.

       19.     Headwater is the owner of U.S. Patent No. 10,080,250, titled “Enterprise access

control and accounting allocation for access networks,” which issued September 18, 2018. A copy

of the ’250 patent is attached to this complaint as Exhibit 4.

       20.     Headwater is the owner of U.S. Patent No. 10,779,177, titled “Device group

partitions and settlement platform,” which issued September 15, 2020. A copy of the ’177 patent

is attached to this complaint as Exhibit 5.

              DEFENDANTS AND THE ACCUSED INSTRUMENTALITIES

       21.     On information and belief, Defendant T-Mobile USA is a corporation duly

organized and existing under the laws of the State of Delaware, with its principal place of business

at 12920 SE 38th Street, Bellevue, Washington 98006. On information and belief, T-Mobile USA

may be served with process through its registered agent Corporation Service Company, 211 E. 7th

Street, Suite 620, Austin, Texas 78701.

       22.     On information and belief, since on or about November 22, 1999, T-Mobile USA

has been registered to do business in the state of Texas under Texas SOS file number



                                                  7
   Case 2:25-cv-00686            Document 1    Filed 07/03/25      Page 8 of 22 PageID #: 8




19119836005. On information and belief, T-Mobile USA has directly or indirectly conducted

business and continues to conduct business directly or indirectly in the State of Texas and within

the Eastern District of Texas.

       23.     On information and belief, Defendant Sprint LLC (“Sprint”), formerly known as

Sprint Corporation, is a Delaware limited liability company with its principal place of business at

12920 Southeast 38th Street, Bellevue, Washington 98006.

       24.     On April 1, 2020, T-Mobile and Sprint closed a merger of the two companies, with

the surviving company continuing to be T-Mobile.

       25.     The Accused Instrumentalities are T-Mobile’s cellular networks, servers, and

services made, used, offered for sale, sold, and/or imported by Defendants in the United States

(including eSIM provisioning and management systems/components such as SM-DP+, SM-DP,

RSP, SM-SR, SM-DS, AAA/UDM/AUSF, HLR/HSS, and PCRF/PCF entities) as well as eSIM-

enabled devices (including mobile phones, tablets, wearables, laptops, IoT devices, M2M devices,

and vehicle infotainment systems) that operate on T-Mobile’s cellular network, including devices

used, offered for sale, sold, and/or imported by Defendants in the United States.

                                   JURISDICTION AND VENUE

       26.     This action arises under the patent laws of the United States, Title 35 of the United

States Code.

       27.     This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1338(a).

       28.     This Court has personal jurisdiction over T-Mobile in this action because T-Mobile

has committed acts of infringement within this District giving rise to this action, has a regular and

established place of business in this District, and has established minimum contacts with this forum



                                                 8
   Case 2:25-cv-00686         Document 1       Filed 07/03/25       Page 9 of 22 PageID #: 9




such that the exercise of jurisdiction over T-Mobile would not offend traditional notions of fair

play and substantial justice. T-Mobile, directly and/or through subsidiaries or intermediaries,

conducts its business extensively throughout Texas, by shipping, distributing, offering for sale,

selling, and advertising its products and/or services in Texas and the Eastern District of Texas,

regularly do business or solicit business, engage in other persistent courses of conduct, and/or

derive substantial revenue from products and/or services provided to individuals in Texas, and

commit acts of infringement of Headwater’s patents in this District by, among other things,

making, using, importing, offering to sell, and selling products and services that infringe the

asserted patents, including without limitation the mobile electronic devices, including mobile

phones and tablets, and the cellular networks, servers, and services accused of infringement in this

complaint.

       29.     T-Mobile, directly and/or through subsidiaries or intermediaries, have purposefully

and voluntarily placed one or more products and/or services in the stream of commerce that

practice the Asserted Patents with the intention and expectation that they will be purchased and

used by consumers in the Eastern District of Texas. These products and/or services have been and

continue to be purchased and used in the Eastern District of Texas.

       30.     Venue as to T-Mobile is proper in this District under 28 U.S.C. §§ 1391 and

1400(b). On information and belief, T-Mobile resides in this District and/or has committed acts of

infringement and has a regular and established place of business in this District.

       31.     For example, T-Mobile advertises its wireless networks are available in Texas,

including    within    the    Eastern     District   of    Texas.     See    e.g.,   https://www.t-

mobile.com/coverage/coverage-map :




                                                 9
  Case 2:25-cv-00686        Document 1        Filed 07/03/25    Page 10 of 22 PageID #: 10




        32.     T-Mobile had approximately 110 million subscribers as of the fourth quarter of

2021. See https://www.telekom.com/en/media/media-information/archive/second-quarter-report-

2022-1012842.

        33.     T-Mobile owns, leases, maintains and/or operates cellular base stations throughout

this District to sell and provide 5G data services to customers, in infringement of the Asserted

Patents in this District.

        34.     T-Mobile also sells mobile devices that operate on its wireless networks in Texas,

including within the Eastern District of Texas. See e.g., https://www.t-mobile.com/store-

locator/tx/marshall/e-end-blvd-n-lawson-st:




                                                10
 Case 2:25-cv-00686          Document 1        Filed 07/03/25      Page 11 of 22 PageID #: 11




             COUNT 1 – CLAIM FOR INFRINGEMENT OF THE ’908 PATENT

       35.     Headwater incorporates by reference each of the allegations in the foregoing

paragraphs as if fully set forth herein and further alleges as follows:

       36.      On August 5, 2014, the United States Patent and Trademark Office issued U.S.

Patent No. 8,797,908, titled “Automated device provisioning and activation.” Ex. 1.

       37.     Headwater is the owner of the ’908 patent with full rights to pursue recover of

royalties for damages for infringement, including full rights to recover past and future damages.

       38.     The written description of the ’908 patent describes in technical detail each

limitation of the claims, allowing a skilled artisan to understand the scope of the claims and how

the nonconventional and non-generic combination of claim limitations is patently distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.


                                                 11
 Case 2:25-cv-00686          Document 1       Filed 07/03/25       Page 12 of 22 PageID #: 12




       39.     Defendants have directly infringed (literally and equivalently) and induced others

to infringe the ’908 patent by making, using, selling, offering for sale, or importing products that

infringe the claims of the ’908 patent and by inducing others to infringe the claims of

the ’908 patent without a license or permission from Headwater, such as for example inducing any

vendor(s) of the Accused Instrumentalities to perform the patented methods of the ’908 patent.

       40.     On information and belief, Defendants use, import, offer for sale, and sell certain

infringing products in the United States. Exhibit 6 provides a description of the Accused

Instrumentalities and provides a chart showing how they infringe claim 1 of the ’908 patent, which

Headwater provides without the benefit of information about the Accused Instrumentalities

obtained through discovery.

       41.     Defendants also knowingly and intentionally induce and contribute to infringement

of the ’908 patent in violation of 35 U.S.C. §§ 271(b) and 271(c). For example, Defendants have

had knowledge of the ’908 patent and the infringing nature of the Accused Instrumentalities

through at least the filing and service of this Complaint.

       42.     Despite this knowledge of the ’908 patent, Defendants continue to actively

encourage and instruct their customers to use and integrate the Accused Instrumentalities in ways

that directly infringe the ’908 patent. Defendants do so knowing and intending that their customers

will commit these infringing acts. Defendants also continue to make, use, offer for sale, sell, and/or

import the Accused Instrumentalities, despite their knowledge of the ’908 patent, thereby

specifically intending for and inducing their customers to infringe the ’908 patent through the

customers’ normal and customary use of the Accused Instrumentalities.

       43.     Defendants have induced, and continue to induce, infringement of the ’908 patent

by actively encouraging others (including their customers) to use, offer to sell, sell, and import the




                                                 12
 Case 2:25-cv-00686          Document 1        Filed 07/03/25      Page 13 of 22 PageID #: 13




Accused Instrumentalities. On information and belief, these acts include providing information

and instructions on the use of the Accused Instrumentalities; providing information, education and

instructions to their customers; providing the Accused Instrumentalities to customers; and

indemnifying patent infringement within the United States.

       44.     Headwater has been damaged by Defendants’ infringement of the ’908 patent and

is entitled to damages as provided for in 35 U.S.C. § 284, including reasonable royalty damages.

             COUNT 2 – CLAIM FOR INFRINGEMENT OF THE ’061 PATENT

       45.     Headwater incorporates by reference each of the allegations in the foregoing

paragraphs as if fully set forth herein and further alleges as follows:

       46.      On July 11, 2017, the United States Patent and Trademark Office issued U.S.

Patent No. 9,706,061, titled “Service design center for device assisted services.” Ex. 2.

       47.     Headwater is the owner of the ’061 patent with full rights to pursue recover of

royalties for damages for infringement, including full rights to recover past and future damages.

       48.     The written description of the ’061 patent describes in technical detail each

limitation of the claims, allowing a skilled artisan to understand the scope of the claims and how

the nonconventional and non-generic combination of claim limitations is patently distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

       49.     Defendants have directly infringed (literally and equivalently) and induced others

to infringe the ’061 patent by making, using, selling, offering for sale, or importing products that

infringe the claims of the ’061 patent and by inducing others to infringe the claims of

the ’061 patent without a license or permission from Headwater, such as for example inducing any

vendor(s) of the Accused Instrumentalities to perform the patented methods of the ’061 patent.



                                                 13
 Case 2:25-cv-00686          Document 1       Filed 07/03/25       Page 14 of 22 PageID #: 14




       50.     On information and belief, Defendants use, import, offer for sale, and sell certain

infringing products in the United States. Exhibit 7 provides a description of the Accused

Instrumentalities and provides a chart showing how they infringe claim 1 of the ’061 patent, which

Headwater provides without the benefit of information about the Accused Instrumentalities

obtained through discovery.

       51.     Defendants also knowingly and intentionally induce and contribute to infringement

of the ’061 patent in violation of 35 U.S.C. §§ 271(b) and 271(c). For example, Defendants have

had knowledge of the ’061 patent and the infringing nature of the Accused Instrumentalities

through at least the filing and service of this Complaint.

       52.     Despite this knowledge of the ’061 patent, Defendants continue to actively

encourage and instruct their customers to use and integrate the Accused Instrumentalities in ways

that directly infringe the ’061 patent. Defendants do so knowing and intending that their customers

will commit these infringing acts. Defendants also continue to make, use, offer for sale, sell, and/or

import the Accused Instrumentalities, despite their knowledge of the ’061 patent, thereby

specifically intending for and inducing their customers to infringe the ’061 patent through the

customers’ normal and customary use of the Accused Instrumentalities.

       53.     Defendants have induced, and continue to induce, infringement of the ’061 patent

by actively encouraging others (including their customers) to use, offer to sell, sell, and import the

Accused Instrumentalities. On information and belief, these acts include providing information

and instructions on the use of the Accused Instrumentalities; providing information, education and

instructions to their customers; providing the Accused Instrumentalities to customers; and

indemnifying patent infringement within the United States.

       54.     Headwater has been damaged by Defendants’ infringement of the ’061 patent and




                                                 14
 Case 2:25-cv-00686         Document 1        Filed 07/03/25      Page 15 of 22 PageID #: 15




is entitled to damages as provided for in 35 U.S.C. § 284, including reasonable royalty damages.

             COUNT 3 – CLAIM FOR INFRINGEMENT OF THE ’144 PATENT

       55.     Headwater incorporates by reference each of the allegations in the foregoing

               paragraphs as if fully set forth herein and further alleges as follows:

       56.      On July 17, 2018, the United States Patent and Trademark Office issued U.S.

Patent No. 10,028,144, titled “Techniques for device assisted services.” Ex. 3.

       57.     Headwater is the owner of the ’144 patent with full rights to pursue recover of

royalties for damages for infringement, including full rights to recover past and future damages.

       58.     The written description of the ’144 patent describes in technical detail each

limitation of the claims, allowing a skilled artisan to understand the scope of the claims and how

the nonconventional and non-generic combination of claim limitations is patently distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

       59.     Defendants have directly infringed (literally and equivalently) and induced others

to infringe the ’144 patent by making, using, selling, offering for sale, or importing products that

infringe the claims of the ’144 patent and by inducing others to infringe the claims of

the ’144 patent without a license or permission from Headwater, such as for example inducing any

vendor(s) of the Accused Instrumentalities to perform the patented methods of the ’144 patent.

       60.     On information and belief, Defendants use, import, offer for sale, and sell certain

infringing products in the United States. Exhibit 8 provides a description of the Accused

Instrumentalities and provides a chart showing how they infringe claim 1 of the ’144 patent, which

Headwater provides without the benefit of information about the Accused Instrumentalities

obtained through discovery.



                                                 15
 Case 2:25-cv-00686          Document 1       Filed 07/03/25       Page 16 of 22 PageID #: 16




       61.     Defendants also knowingly and intentionally induce and contribute to infringement

of the ’144 patent in violation of 35 U.S.C. §§ 271(b) and 271(c). For example, Defendants have

had knowledge of the ’144 patent and the infringing nature of the Accused Instrumentalities

through at least the filing and service of this Complaint.

       62.     Despite this knowledge of the ’144 patent, Defendants continue to actively

encourage and instruct their customers to use and integrate the Accused Instrumentalities in ways

that directly infringe the ’144 patent. Defendants do so knowing and intending that their customers

will commit these infringing acts. Defendants also continue to make, use, offer for sale, sell, and/or

import the Accused Instrumentalities, despite their knowledge of the ’144 patent, thereby

specifically intending for and inducing their customers to infringe the ’144 patent through the

customers’ normal and customary use of the Accused Instrumentalities.

       63.     Defendants have induced, and continue to induce, infringement of the ’144 patent

by actively encouraging others (including their customers) to use, offer to sell, sell, and import the

Accused Instrumentalities. On information and belief, these acts include providing information

and instructions on the use of the Accused Instrumentalities; providing information, education and

instructions to their customers; providing the Accused Instrumentalities to customers; and

indemnifying patent infringement within the United States.

       64.     Headwater has been damaged by Defendants’ infringement of the ’144 patent and

is entitled to damages as provided for in 35 U.S.C. § 284, including reasonable royalty damages.

             COUNT 4 – CLAIM FOR INFRINGEMENT OF THE ’250 PATENT

       65.     Headwater incorporates by reference each of the allegations in the foregoing

               paragraphs as if fully set forth herein and further alleges as follows:

       66.      On September 18, 2018, the United States Patent and Trademark Office issued



                                                 16
 Case 2:25-cv-00686         Document 1        Filed 07/03/25     Page 17 of 22 PageID #: 17




U.S. Patent No. 10,080,250, titled “Enterprise access control and accounting allocation for access

networks.” Ex. 4.

       67.     Headwater is the owner of the ‘250 patent with full rights to pursue recover of

royalties for damages for infringement, including full rights to recover past and future damages.

       68.     The written description of the ’250 patent describes in technical detail each

limitation of the claims, allowing a skilled artisan to understand the scope of the claims and how

the nonconventional and non-generic combination of claim limitations is patently distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

       69.     Defendants have directly infringed (literally and equivalently) and induced others

to infringe the ’250 patent by making, using, selling, offering for sale, or importing products that

infringe the claims of the ’250 patent and by inducing others to infringe the claims of

the ’250 patent without a license or permission from Headwater, such as for example inducing any

vendor(s) of the Accused Instrumentalities to perform the patented methods of the ’250 patent.

       70.     On information and belief, Defendants use, import, offer for sale, and sell certain

infringing products in the United States. Exhibit 9 provides a description of the Accused

Instrumentalities and provides a chart showing how they infringe claim 1 of the ’250 patent, which

Headwater provides without the benefit of information about the Accused Instrumentalities

obtained through discovery.

       71.     Defendants also knowingly and intentionally induce and contribute to infringement

of the ’250 patent in violation of 35 U.S.C. §§ 271(b) and 271(c). For example, Defendants have

had knowledge of the ’250 patent and the infringing nature of the Accused Instrumentalities

through at least the filing and service of this Complaint.




                                                 17
 Case 2:25-cv-00686          Document 1        Filed 07/03/25      Page 18 of 22 PageID #: 18




       72.     Despite this knowledge of the ’250 patent, Defendants continue to actively

encourage and instruct their customers to use and integrate the Accused Instrumentalities in ways

that directly infringe the ’250 patent. Defendants do so knowing and intending that their customers

will commit these infringing acts. Defendants also continue to make, use, offer for sale, sell, and/or

import the Accused Instrumentalities, despite their knowledge of the ’250 patent, thereby

specifically intending for and inducing their customers to infringe the ’250 patent through the

customers’ normal and customary use of the Accused Instrumentalities.

       73.     Defendants have induced, and continue to induce, infringement of the ’250 patent

by actively encouraging others (including their customers) to use, offer to sell, sell, and import the

Accused Instrumentalities. On information and belief, these acts include providing information

and instructions on the use of the Accused Instrumentalities; providing information, education and

instructions to their customers; providing the Accused Instrumentalities to customers; and

indemnifying patent infringement within the United States.

       74.     Headwater has been damaged by Defendants’ infringement of the ’250 patent and

is entitled to damages as provided for in 35 U.S.C. § 284, including reasonable royalty damages.

             COUNT 5 – CLAIM FOR INFRINGEMENT OF THE ’177 PATENT

       75.     Headwater incorporates by reference each of the allegations in the foregoing

paragraphs as if fully set forth herein and further alleges as follows:

       76.      On September 15, 2020, the United States Patent and Trademark Office issued

U.S. Patent No. 10,779,177, titled “Device group partitions and settlement platform.” Ex. 5.

       77.     Headwater is the owner of the ‘177 patent with full rights to pursue recover of

royalties for damages for infringement, including full rights to recover past and future damages.

       78.     The written description of the ’177 patent describes in technical detail each



                                                 18
 Case 2:25-cv-00686          Document 1       Filed 07/03/25       Page 19 of 22 PageID #: 19




limitation of the claims, allowing a skilled artisan to understand the scope of the claims and how

the nonconventional and non-generic combination of claim limitations is patently distinct from

and improved upon what may have been considered conventional or generic in the art at the time

of the invention.

       79.     Defendants have directly infringed (literally and equivalently) and induced others

to infringe the ’177 patent by making, using, selling, offering for sale, or importing products that

infringe the claims of the ’177 patent and by inducing others to infringe the claims of

the ’177 patent without a license or permission from Headwater, such as for example inducing any

vendor(s) of the Accused Instrumentalities to perform the patented methods of the ’177 patent.

       80.     On information and belief, Defendants use, import, offer for sale, and sell certain

infringing products in the United States. Exhibit 10 provides a description of the Accused

Instrumentalities and provides a chart showing how they infringe claim 1 of the ’177 patent, which

Headwater provides without the benefit of information about the Accused Instrumentalities

obtained through discovery.

       81.     Defendants also knowingly and intentionally induce and contribute to infringement

of the ’177 patent in violation of 35 U.S.C. §§ 271(b) and 271(c). For example, Defendants have

had knowledge of the ’177 patent and the infringing nature of the Accused Instrumentalities

through at least the filing and service of this Complaint.

       82.     Despite this knowledge of the ’177 patent, Defendants continue to actively

encourage and instruct their customers to use and integrate the Accused Instrumentalities in ways

that directly infringe the ’177 patent. Defendants do so knowing and intending that their customers

will commit these infringing acts. Defendants also continue to make, use, offer for sale, sell, and/or

import the Accused Instrumentalities, despite their knowledge of the ’177 patent, thereby




                                                 19
 Case 2:25-cv-00686          Document 1       Filed 07/03/25        Page 20 of 22 PageID #: 20




specifically intending for and inducing their customers to infringe the ’177 patent through the

customers’ normal and customary use of the Accused Instrumentalities.

       83.     Defendants have induced, and continue to induce, infringement of the ’177 patent

by actively encouraging others (including their customers) to use, offer to sell, sell, and import the

Accused Instrumentalities. On information and belief, these acts include providing information

and instructions on the use of the Accused Instrumentalities; providing information, education and

instructions to their customers; providing the Accused Instrumentalities to customers; and

indemnifying patent infringement within the United States.

       84.     Headwater has been damaged by Defendants’ infringement of the ’177 patent and

is entitled to damages as provided for in 35 U.S.C. § 284, including reasonable royalty damages.

                                         JURY DEMAND

       85.     Headwater demands a jury trial pursuant to Federal Rule of Civil Procedure 38.

                                     RELIEF REQUESTED

       Headwater prays for the following relief:

       A.      A judgment in favor of Headwater that Defendants have infringed the Asserted

Patents, and that the Asserted Patents are valid and enforceable;

       B.      A judgment and order requiring Defendants to pay Headwater past and future

damages arising out of Defendants’ infringement of the Asserted Patents in an amount no less than

a reasonable royalty, costs, expenses, and pre- and post-judgment interest for its infringement of

the asserted patents, as provided under 35 U.S.C. § 284;

       C.      A judgment and order requiring Defendants to provide an accounting and to pay

supplemental damages to Headwater, including, without limitation, pre-judgment and

post-judgment interest;



                                                 20
 Case 2:25-cv-00686        Document 1      Filed 07/03/25     Page 21 of 22 PageID #: 21




       E.     A finding that this case is exceptional under 35 U.S.C. § 285, and an award of

Headwater’s reasonable attorney’s fees and costs; and

       F.     Any and all other relief to which Headwater may be entitled.




Dated: July 3, 2025                                Respectfully submitted,

                                                   /s/ Marc Fenster
                                                   Marc Fenster
                                                   CA State Bar No. 181067
                                                   Email: mfenster@raklaw.com
                                                   Reza Mirzaie
                                                   CA State Bar No. 246953
                                                   Email: rmirzaie@raklaw.com
                                                   Brian Ledahl
                                                   CA State Bar No. 186579
                                                   Email: bledahl@raklaw.com
                                                   Ben Wang
                                                   CA State Bar No. 228712
                                                   Email: bwang@raklaw.com
                                                   Dale Chang
                                                   CA State Bar No. 248657
                                                   Email: dchang@raklaw.com
                                                   Paul Kroeger
                                                   CA State Bar No. 229074
                                                   Email: pkroeger@raklaw.com
                                                   Neil A. Rubin
                                                   CA State Bar No. 250761
                                                   Email: nrubin@raklaw.com
                                                   Kristopher Davis
                                                   CA State Bar No. 329627
                                                   Email: kdavis@raklaw.com
                                                   James S. Tsuei
                                                   CA State Bar No. 285530
                                                   Email: jtsuei@raklaw.com
                                                   Philip Wang
                                                   CA State Bar No. 262239
                                                   Email: pwang@raklaw.com
                                                   Jason M. Wietholter
                                                   CA State Bar No. 337139



                                              21
Case 2:25-cv-00686   Document 1   Filed 07/03/25   Page 22 of 22 PageID #: 22




                                         Email: jwietholter@raklaw.com
                                         Ryan K. Lundquist
                                         CO State Bar No. 56449
                                         Email: rlundquist@raklaw.com
                                         RUSS AUGUST & KABAT
                                         12424 Wilshire Blvd. 12th Floor
                                         Los Angeles, CA 90025
                                         Telephone: 310-826-7474

                                         ATTORNEYS FOR PLAINTIFF,
                                         Headwater Research LLC




                                    22
